Case 21-05166-grs             Doc 209-16 Filed 06/13/22 Entered 06/13/22 11:01:35       Desc
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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF KENTUCKY
                                     LEXINGTON DIVISION

IN RE:                                  )
HDR FARMS INCORPORATED,                 )                 Chapter 11
                                        )
      Debtor                            )                 CASE NO. 20-50888-GRS
_______________________________________ )
                                        )
HDR FARMS INCORPORATED                  )                 A.P. No. 21-05166-grs
LIQUIDATING TRUST,                      )
                                        )
      Plaintiff                         )
                                        )
v.                                      )
                                        )
APPLIED BOTANICS LLC f/k/a              )
XSI USA, LLC; COZEN O’CONNOR;           )
KAWEL LAUBACH; DEAN JOHNSON             )
ANNETTE COX; CHARLES THOMAS             )
“TODD” MERCER; and APPLIED              )
BIOLOGY LLC                             )
                                        )
      Defendants                        )
_______________________________________ )


                                             ORDER

         This matter having come before the Court on Defendant Cozen O’Connor’s Motion for

Summary Judgment, and the Court having considered the Motion and the parties’ filings and being

otherwise sufficiently advised,

         IT IS HEREBY ORDERED that the Motion shall be GRANTED, and claims against Cozen

O’Connor are dismissed with prejudice.




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